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THE LAW OFFICE OF ELLIE SILVERMAN, PC
745 5 T H AVEN UE, SUITE 500 * N EW YORK, NY * 10151



                                                         May 16, 2022
      VIA ELECTRONIC CASE FILING
      Honorable James R. Cho
      United States Magistrate Judge
      Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, New York 11201

                                                      Re: Michael Reid aka Wayne Martin v. City
                                                      of New York, et al. 17-cv-5268 (RPK) (JRC)

      Your Honor:

             My name is Ellie Silverman and I recently filed an appearance as an associate for Napoli
      Shkolnik, potential outgoing counsel for Plaintiff, Michael Reid.

             As of today, May 16, 2022 I am no longer associated with the firm. Therefore, I have no
      professional relationship with Plaintiff and have not been retained by Michael Reid aka Wayne
      Martin to represent him in this matter.

             Wherefore, Plaintiff respectfully requests that this Honorable Court grants Your
      Undersigned’s Motion to Withdraw and any such other further relief as this Court deems
      necessary and proper.

                                                         Respectfully submitted,




                                                         Ellie A. Silverman




                           * 215-620-6616 * ELLIE@ELLIESILVERMANLAW.COM
